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Mic GaP frais :03-Cv-041

Advanced Reporting (605)

Condenselt! ™ January 19, 2005
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1 UNITED STATES DISTRICT COURT 1 INDEX TO WITNESS
2 DISTRICT OF SOUTH CAKOTA 2 Examination
3 SOUTHERN CIVISTON 3 BY Mr. Aboutezk p. 4
5 James G. Abourezk, 3 INDEX TO EXHIBITS
6 Plaintiff, 6 Marked for Offered for
-¥Sr : Identification Evidence
7 1 .
roBush.com, ine., a Pennsylvania Exhibit 13 : Bp. 32
g corporation, and Michael Marino, 8 (Traitor Lidt)
an individual, .
3 9 Exhibit 14. p. 74
Oefendant. (Patziot Ligt)
10 20 :
Exhibit 15 :
it lL (Printout ce ProBugh.com website
starting with "Bush Haner?"}
12 da
Exnibit 16 | p. 43
13 Johnson, Heidepriem, Miner, 13 (Printout of iFriends Live Browse, Videochat
Marlow & Janklow Category: Pelychics/Advice)
14 Sioux Falls, 50 14 :
J Z 19, 2005 Exhibit 17 . 1
15 10700 o'clock a.m. 15 (rintone of ProBush.com starting with ®
SR RR ee eR RR eR Ee “Bregident olf the United States of America”)
16 CHEPOSITIORN OF 1lé
17 Michael Marine LT
Soe ee ee wr ke ee ee ee
18 APPEARANCES: 18
19 Mr. Todd Dp. Epp 19
Abourezk Law Offices
20 Box 1164 2c
Sioux Falls, 5D 57101-1164
21 ~and- 21
Mr. Charles Abourezk
az Abourezk law Office 22
Box $460
23 Rapid City, 80 57709 24
for the Plaintiff
24 za ae
The original: transcript of this deposition was
25 25 given to Mr. Abourezk.
Page 2 ‘ Page 4
1 APPEARANCES: (Continued) | Ss + t P U L A T I O N
2 Mr. Ronald Pargons . .
Ms. Kinberly J. Lanham 2 It is stipulated and agreed by and between
3 Joh y Haid iem, Mi > Marl Jarkl : . .
P.O. Bok MO} eenew & Janklow 3 the above-named parties, through their
4 Si Falis, SD 57101-1107 i
“ees for the Defendants 4 attorneys of record, whose appearances have
5 1 1s
ALSO PRESENT: Jin Abourezk 5 been hereinabove noted, that the deposition of
6 Ben Marin : . . .
meee 6 Michael Marino may be taken at this time and
7 j
7 place, that js, at the offices of Johnson,
8 . ‘ : 1 '
8  Heidepriem, Miner, Marlow & Janklow, Sioux
3 i
9 Falls, South Dakota, on the 19th day of
19 : ‘
10 January, 2005, commencing at the hour of 10:00
11 . ae 1
i1 o'clock a.n}.; said deposition taken before Jill
12 : . “aa:
12 M. Connelly, Notary Public within and for the
413 : : tat
13 State of South Dakota; said deposition taken
14 1 .
14 for the purpose of discovery or for use at
15 ’ : . .
15 trial or for each of said purposes, and said
16 tae . .
16 deposition is taken in accordance with the
17 . i oa .
17 applicable Rules of Civil Procedure as if taken
18 oo, . ‘
18 pursuant to; written notice.
19 i
19 MICHAEL MARINO,
20 ' . .
20 called as a witness, being first duly sworn,
aL ape i
2] testified as follows:
22 :
22 EXAMINATION BY MR. ABOUREBZE:
23
, 23 Q. State your name and address for the record,
4
EXHIBIT 24 please.
25
25 A. Michael] Marino, 69 Wexford Avenue, North Wales,

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Michaél Marin Condenselt!™ January 19, 2005
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1 A, GoDaddy.com. 1 A. From home, yes.
2 Q. What do you pay a month to have that host? 2 Q. What's that process entail? What do you have
3 A. It depends on bandwidth. 3 todo? .
4 Q. On average what would you say? 4 A. lopen a web publisher called Microsoft Front
5 A. Right now? 5 Page, and it brings up basically the web page.
6 Q. Yes. 6 It brings up a blank Word document, and you go
7 A I pay about $250 per year average, 7 on from there. You design, develop a website
8 Q. Are there any other costs associated with 8 using content and borders. Basically you
9 maintaining that website other than that? 9 decorate it. You decorate your website with
10 A. There's costs that go into it, domain name 10. words and pictures.
11 purchasing, purchasing the domain name, hosting 11 Q. When you want to edit or modify something
12 the account, e-mail accounts. There's multiple 12 that's already on the website, is it a similar
13. things in purchasing a website. 13. process?
14 Q. What would maintaining that domain name cost 14 A. Yes,
18 you? 15 Q. Is it easy td modify it?
16 A. The domain name costs, I'd say between five and 16 A. Yes, for people who are web oriented. If you
17 ten dollars, so you can purchase a domain name 17 know nothing about the web, you wouldn't know
18 for five or ten dollars, 18 how to do it.
19 Q. Is that a year? 19 Q Now, how often would you say you update or
20 A. No, That's a domain name price. It depends on 20 change thatiweb page?
21 if it's available or not. If it's not 21 A. Once a month,
22 available, there's other things that can go 22 Q. Do you keep records of what items are added
23s into it. 23. ~when?
24 Q. So it's a one-time fee? 24 A. No.
25 A. I believe so. I'm not sure, My brother is a 25 Q. Does anyone keep records of that?
Page 14 . Page 16
1 bigger domainer than I am. I'm not a 1 A. No. Mental,
2 domainer, I'm a webmaster. 2 Q. Mental?
3 Q. What would you say total, if you were going to 3 A. Mental record.
4 give me an estimate right now, what are you 4 Q Now, when I talk about the Traitor List, you'll
5 paying for that per year to keep that website 5 know what I'm talking about here. Correct?
6 up and running? 6 A. Absolutely. :
7 A. Ijust told you, $250. 7 Q. Where did you find this master list of
8 Q. II understand, but you gave me some other 8 celebrities that you used to formulate the
9 costs. I'm talking about all together. 9 Traitor List?
10 A. I gave you the all together. 10 A. The Not In Our Name Petition.
11 Q. You named some other things earlier, too. 11 Q. Where did you see that at?
12 A. What's that? 12 A. On the Internet.
13 MR. PARSON: Domain name. 13 Q. And you esgentially took well-known names from
i4 A. Domain name, e-mail accounts. That's all i4 that ist? -
15 included in a package you purchase from 15 A. Yes.
16 GoDaddy. It's in a package. 16 Q. Not all the qames.
17 Q. That's all $250 for the whole package? 17 4. Names that didn't come up in Google, a Google
18 A. Approximately, yes. It's all in that one 18 search, per se. You type in a name in Google,
19 package. 19 if they came up on the image directory, that
20 Q. Now, how do you go in and change the content of 20 swag it.
21s: your website? Do you do that yourself? 21 Q. What was the reason for leaving off people who
22 A. Yes. 22 didn't come'up on Google?
23 Q. Do you do it from home? 23 A. What was the reason? I figured, you know, if
24 A. DoI do it from home? 24 their name was signed on a petition, and their
25 Q. Or from your office. 25 __ picture, multiple pictures had come up on a

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1 Google image search, I figured they were a 1 Ari Fleis¢her. That's what basically boosted
2 public figure or famous of some sort. 2 the website up into, I guess into the eyes of
3 Q. Why would you want to -- 3 the Internet where it became a popular website
4 A. And it was associated. The Not In Our Name 4 to go to.
5 Petition had a lot of famous people on it that 5 Q. Did you believe the Not In Our Name Petition
6 I could look at and notice. 6 had been done in bad taste?
7 Q. Why would you want to single out public figures 7A. Yes,
8 or famous people to -- 8 Q Explain what you mean by that, by “bad taste,"
9 A. I didn't want to single out anyone. This was 9 A. I just didn't like what they said about our
10 ~- I was a little sick and tired of the 10. President., They were disagreeing -- if I had
11 protestors, the anti-Bush websites on the web, 11 ~~ the Petition in front of me, I could read a
12. If you are on the web at all, I don't know, 12 couple things off the Petition that I really
13 you'll find there's multiple anti-Bush websites 13. didn't agree with.
14 calling him a murderer, a baby killer. I was a 14 MR. PARSON: It is an exhibit,
15 little tired of that. So I figured I'd throw a 15 Q, That's fing if you want to look at it.
16 website to support our President. 16 MR. PARSON: Exhibit 7.
17 Q. I guess what I'm talking about, you made a 17 A. Statements such as, "The signers of this
18 chotce to leave off people who didn't come up 18 statement call on the people of the United
19 on Google, and the people that did, who you 19 States to résist the policies and overall
20 earlier said were public figures, you decided 20 political direction that have emerged since
21 to put them on your list. Why public figures? 21 9-11, and which pose grave dangers to the
22 A. Why public figures? 22 people of the world." That bothered me a
23 Q. Yes. 23 little bit, to resist the United States
24 A. Because they're famous, and that's what causes 24 policies. Yiu live in the United States. How
25 traffic, 25 can you regist their policies?
Page 18 Page 20
1 Q. Causes what? 1 Q. Anything else trouble you there?
2 A. Traffic. 2 A. I'd say the whole petition troubled me. I
3 Q. Explain that, 3 could read the whole thing.
4 A. Traffic on the web, you make money on traffic. 4 Q, That's okay. We can put it in and save some
5 The more visitors you get, the more possibility 5 time here. Other than creating traffic for
6 of them going to your store and so on, clicking 6 your website, were there any other reasons at
7 on Hot Links. 7 the time for the development of the Traitor
8 Q. So, in other words, if I was just a person 8 List?
9 — getting on Google, for example, and I typed in 9 A. To, I guess,:counter the anti-Bush websites on
10 Abourezk, it would pop up your website, too. 10 the web. There's multiple sites out there that
11 A, Possibly, 11 bash Bush. ‘As you can see on the web, there's
12 Q. Is that what you mean by traffic? If you mean 12 not many pto-Bush websites. We kind of coined
13 something different, tell me. 13 the term "proBush,"
14 A. Controversy causes traffic, 14 Q Now, you know how famous and infamous things
15 Q. So you wanted to create controversy in order to 15 are created. Where did the actual idea, when
16 —_ get more visitors to your website? 16 did it get developed? Was it you and your
17 A. Yes, 17 brother talking?
18 Q Did you? 18 A. ProBush.corh?
19 A. Absolutely. 19 Q. Yes.
20 Q. After you added those people in that Traitor 20 A. It was probably conversations between me and my
21 List, how much of an increase did you see on 21 brother -- my brother and I, excuse me, yes,
22 traffic on your website? 22 Q. What did you discuss with him?
23 A. It wasn't until after we had a Fox News article 23 A. Discussed how we would develop the website. It
24 of something else on our website called the 24 ~—s kind of started as a real shabby website. It
25 Ari Fan Club. He was a former press secretary, 25

Was one pag¢ at one point. Then in web

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